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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  EASTERN DIVISION

JOHNNY BANKS                                                                       PLAINTIFF

V.                                  CASE NO. 4:18CV00259BSM

SHELBY HAWKINS; CITY OF
SHANNON HILLS                                                                   DEFENDANTS


   DEFENDANTS’ BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO STRIKE
 PLAINTIFF’S SECOND STATEMENT OF UNDISPUTED MATERIAL FACTS OR IN
 THE ALTERNATIVE MOTION TO EXTEND THE DEADLINE FOR RESPONDING
    TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND MOTION TO
     EXTEND DEFENDANTS’ DEADLINE TO FILE A REPLY TO PLAINTIFF’S
      RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          COME, Defendants Shelby Hawkins and City of Shannon Hills, by and through counsel,

Sara Monaghan, and for their Brief in Support of Motion to Strike Plaintiff’s Second Statement of

Undisputed Material Facts or in the Alternative Motion to Extend the Deadline for Responding to

Plaintiff’s Motion for Summary Judgment and Motion to Extend Defendants’ Deadline to File a

Reply to Plaintiff’s Response to Defendants’ Motion for Summary Judgment, state:


     I.      FACTS

          On October 18, 2018, the Court entered an Amended Scheduling Order in the present case.

[Doc. 21]. Pursuant to the Amended Scheduling Order, the dispositive motion deadline was July

22, 2019. Id. On July 12, 2019, the Defendants filed a Motion to Extend the Dispositive Motion

deadline. [Doc. 31]. Defendants filed two Amended Motions to Extend the Dispositive Motion

deadline on July 17, 2019. [Docs. 34-35]. Plaintiff responded to Defendants’ Motion to Amend

on July 18, 2019, stating his objection to an extension of the dispositive motion deadline. [Doc.

38]. On July 19, 2019, the Court granted Defendants’ Motion to Extend the Dispositive Motion
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Deadline, setting a new dispositive motion deadline for August 5, 2019. [Doc. 40]. On August 5,

2019, Plaintiff’s counsel contacted the undersigned to determine if the undersigned objected to an

extension of the Plaintiff’s time to file a dispositive motion. [Doc. 43]. The undersigned stated

she had no objection to extending the dispositive motion deadline. Id. Later that day, the Plaintiff

filed a Motion to Extend the dispositive motion deadline, misrepresenting the undersigned’s

communication stating that she had an objection when she had stated that she had no objection.

[Doc. 42]. Defendants filed their Motion for Summary Judgment, Brief in Support, and Statement

of Undisputed Facts on August 5, 2019. [Docs. 44-46]. After the Defendants’ dispositive motion

documents were filed, the court entered an order granting the Plaintiff’s motion to extend the

dispositive motion deadline to August 13, 2019. [Doc. 47]. In order to clarify the record for

convenience of the court, the Defendants filed an Amended Statement of Undisputed Material

Facts on August 7, 2019, breaking Exhibit C to the Statement of Undisputed Material Facts out

into sub-exhibits. [Doc. 49]. The substance of Defendants Statement of Undisputed Facts was not

altered by the Amended Statement of Undisputed Material Facts, only the presentation of Exhibit

C to Defendants’ Statement of Undisputed Material Facts. Id. Also, given that the dispositive

motion deadline was extended to August 13, 2019, the Amended filing was made within the

dispositive motion deadline.

       On August 13, 2019, the Plaintiff filed a Motion for Summary Judgment, Brief in Support

and a Statement of Undisputed Material Facts. [Docs. 51-53]. On August 19, 2019, the Plaintiff

filed a Response to Defendants Motion for Summary Judgment, Brief in Support and Statement of

Undisputed Facts. [Docs. 54, 56 & 57]. Also, on August 19, 2019, the Plaintiff filed a Second

Statement of Undisputed Facts out of time as the dispositive motion deadline was August 13, 2019.

[Doc. 55]. The Plaintiff’s Second Statement of Undisputed Facts is substantively different from



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Plaintiff’s original Statement of Undisputed Material Facts. Id. Specifically, the Plaintiff changed

the substance of Exhibit D to Plaintiff’s Statement of Undisputed Material Facts by removing

pages 5, 28, 29, 74, 86, 102, 105, 107, 109, 110, 111, 115, 116, 118, 119, 123, 128, and adding

pages, 45, 46, 47, 52, 66, 69, 71, 72, 81, 83, 84, 89, 90, 95, 96, 100, 104, 121, 122 of Shelby

Hawkins’ Deposition.

   II.       ARGUMENT

         Rule 16 of the Federal Rules of Civil Procedure requires a district judge to issue a

scheduling order that limits the time to file dispositive motions, see Fed. R. Civ. P. 16(b)(3), and

provides that scheduling deadlines “may be modified only for good cause and with the judge’s

consent.” Fed. R. Civ. P. 16(b)(4). The Plaintiff’s Second Statement of Undisputed Facts should

be stricken from the record as filed out of time as the dispositive motion deadline was August 13,

2019, and the Plaintiff has not requested an enlargement of time or leave to file out of time.

Further, Plaintiff has repeatedly objected to requests for extensions of time by the Defendants.

[Doc. 38].

         The Defendants will be prejudiced if Plaintiff’s new Statement of Undisputed Facts is not

stricken because they cannot respond adequately to Plaintiff’s Motion for Summary Judgment and

Brief in Support without responding to Plaintiff’s Statement of Undisputed Facts which was not

filed until six days after Plaintiff’s Motion for Summary Judgment and Brief. Currently,

Defendants’ Response to Plaintiff’s Motion for Summary Judgment and Brief in Support is due

August 27, 2019. Given the latest filing of the Plaintiff’s Statement of Undisputed Facts, the

Defendants’ response to the Plaintiff’s Statement of Undisputed Facts is not due until September

2, 2019. Should the Court deny the Defendants’ Motion to Strike the Plaintiff’s (Second)

Statement of Undisputed Material Facts, the Court should extend the Defendants’ deadline to



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respond to Plaintiff’s Motion for Summary Judgment and Brief in Support to September 2, 2019,

which is consistent with the deadline to respond to their new Statement of Undisputed Facts.

       Further, the Defendants’ Reply to Plaintiff’s Response to Defendants’ Motion for

Summary Judgment is due August 26, 2019. given the bulk of filings due in this case, and

Defendants’ counsel’s workload including a response to a Motion for Summary Judgment in Case

No. 2:18cv2163PKH, and answers that are due in two new case assignments, Defendants request

an extension of their time to file a Reply to Plaintiff’s Response to the Defendants’ Motion for

Summary Judgment until September 2, 2019.

                                                    Respectfully submitted,

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